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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


JULIA TEAGUE,                                    §
            Plaintiff                            §
                                                 §                  A-19-CV-00940-JRN
-vs-                                             §
                                                 §
OMNI HOTELS MANAGEMENT                           §
CORPORATION,                                     §
            Defendant                            §



                                     FINAL JUDGMENT

       Before the Court is the above-entitled and styled cause of action. On this day, the Court

entered an order granting Plaintiff Julia Teague’s Motion for Entry of Final Judgment and

requiring Defendant Omni Hotels Management Corporation to pay $16,296.62 in back pay

damages.

       The Court now enters final judgment by separate order pursuant to Rule 58.

       IT IS THEREFORE ORDERED that the case is CLOSED.

       IT IS FURTHER ORDERED that all pending motions are DISMISSED AS MOOT.

       IT IS FINALLY ORDERED that Plaintiff may submit a Motion for Attorney Fees within

14 days of the date of this order, pursuant to Federal Rule of Civil Procedure 54(d)(2)(B)(i). See

Fed. R. Civ. P. 54(d)(2)(B)(i).
                     24th           August
       SIGNED this _______ day of _________________, 2021.



                                             __________________________________________

                                                                     ALAN D ALBRIGHT
                                                          UNITED STATES DISTRICT JUDGE
